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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

TQ DELTA, LLC,
                      Plaintiff,              Civil Action No. 13-cv-1835-RGA
       v.

2WIRE, INC.
                      Defendant.
TQ DELTA, LLC,
                      Plaintiff,              Civil Action No. 13-cv-1836-RGA
       v.

ZHONE TECHNOLOGIES, INC.
               Defendant.
TQ DELTA, LLC,
               Plaintiff,                     Civil Action No. 13-cv-2013-RGA
     v.

ZYXEL COMMUNICATIONS, INC.
and
ZYXEL          COMMUNICATIONS
CORPORATION,
                Defendants.
TQ DELTA, LLC,
                Plaintiff,    Civil Action No. 14-cv-954-RGA
     v.

ADTRAN, INC.
                      Defendant.
ADTRAN, INC,
                      Plaintiff,              Civil Action No. 15-cv-121-RGA
       v.

TQ DELTA, LLC.
                      Defendant.

            FAMILY 4 PATENTS JOINT CLAIM CONSTRUCTION CHART
       Pursuant to ¶ 9 of the Court's Third and Final Scheduling Order, dated April 10, 2017,

Plaintiff TQ Delta, LLC and Defendants in the above-captioned cases submit their Joint Claim

Construction Chart (“Chart”) for the Family 4 Patents (U.S. Patent Nos. 7,292,627 (“the ’627

patent”), 8,073,041 (“the ’041 patent”), 8,090,008 (“the ’008 patent”), 8,218,610 (“the ’610
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patent”), and 8,355,427 (“the ’427 patent”)), hereinafter the “Family 4 Patents,”. The Chart

attached as Exhibit A includes the parties’ respective proposed constructions of the disputed

language of the asserted claims of the Family 4 Patents. The Chart includes citations to the

parties’ intrinsic evidence in support of such constructions. For the Court’s reference, also

included in Exhibit A are the parties’ agreed to constructions for language of the asserted claims.

The parties reserve their rights to amend and/or supplement their disclosures.

       In addition to the Joint Claim Construction Chart attached as Exhibit A, copies of the

Family 4 Patents and additional portions of the intrinsic record are attached as Exhibits B–H.

Exhibit                                        Description
  B       ’627 patent
  C       ’041 patent
  D       ’008 patent
  E       ’610 patent
  F       ’427 patent
  G       U.S. Provisional Patent Application No. 60/164,134
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Dated: June 5, 2017                    Respectfully submitted,

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